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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No.:

  COPPER TREE OFFICE PARK CONDOMINIUM ASSOCIATION, INC., a Colorado
  corporation,

          Plaintiffs,

  v.

  SENECA INSURANCE COMPANY, INC., a New York corporation,


          Defendant.


                             COMPLAINT AND JURY DEMAND


          COMES NOW Plaintiff Copper Tree Office Park Condominium Association, Inc.

  (“Plaintiff”), by and through its attorneys, Furtado Law PC, for its Complaint against the

  above-named Defendant Seneca Insurance Company, Inc., and states as follows:

                                 I. NATURE OF THE ACTION

       1. Plaintiff brings this action seeking economic and non-economic damages related

          to Defendant’s breach of an insurance contract and statutory claims pursuant to

          C.R.S. §§10-3-1115 and 10-3-1116 arising from Defendant’s unreasonable delay

          and denial of covered insurance benefits including recoverable depreciation.
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                                  II.    PARTIES

     2. Copper Tree Office Park Condominium Association, Inc. (“Plaintiff”) is a Colorado

        corporation with its principal place of business at 1227 Lake Plaza Drive, Suite C,

        Colorado Springs, CO 80906.

     3. Seneca Insurance Company, Inc. (“Defendant”) is a foreign corporation with its

        principal place of business located in New York and is authorized to do business

        in Colorado.

                               III. JURISDICTION AND VENUE

     4. Jurisdiction is asserted pursuant to 28 U.S.C. §1332 and 28 U.S.C. § 1391. The

        amount in controversy exceeds $75,000 and there is complete diversity of

        citizenship between the parties. Venue is proper because Defendant’s insurance

        policy was purchased in Colorado and was intended to provide coverage for a

        property located in Colorado.

                                IV. GENERAL ALLEGATIONS

     5. Plaintiff sought and obtained an insurance policy, Policy No. SCC 2031802

        (hereinafter “the Policy”), from Defendant for residential condominiums located

        on Lake Plaza Drive, Colorado Springs, CO 80906 (hereinafter “the Property”).

     6. On or about July 28, 2016, a hail and windstorm hit Plaintiff’s Property causing

        property damage.

     7. On or about March 23, 2017, immediately after Plaintiff learned of the damage to

        its Property, Plaintiff filed its claim with Defendant and Defendant issued Plaintiff

        claims number 17CCN183. Defendant then assigned the claim to its local third-

        party administrator Engle Martin and Associates (“EMA”) to investigate the loss.



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     8. On or about March 27, 2017, Russell Clark with EMA inspected Plaintiff’s

        Property for covered damage from the date of loss.

     9. On or about April 13, 2017, Defendant hired Envista Forensics to inspect

        Plaintiff’s Property for damage related to the date of loss.

     10. On or about April 19, 2017, Amber Prom with Envista Forensics sent her first

        report to defendant that concluded that EPDM roof displayed no hail damage and

        that the interior damage noted at the Property was caused by long-term

        deterioration or improper installation of the EPDM roofing system.

     11. On or about May 8, 2017, Defendant requested Ms. Prom to perform a re-

        inspection of Plaintiff’s Property damage to determine the extent of damage to

        the metal-panel mansards at the Property and to examine the Property for

        window damage.

     12. On or about May 18, 2017, Plaintiff hired Disaster Consulting Services, LLC

        (“DCS”) as its construction consultant to accurately document covered damages

        from the date of loss.

     13. On or about May 18, 2017, DCS prepared a hail evaluation report for Plaintiff for

        its hail loss which concluded as follows:

           a. Weather data confirmed that the hail size from the July 28, 2016 at
              Plaintiff’s Property was anywhere from 1.5 inches in diameter to 3 inches
              in diameter on that date.

           b. The observed damage to the roof, windows and standing seam metal
              siding was likely caused by the July 28, 2016 hailstorm. Damage was
              confirmed by walking the roofs and DCS thoroughly documented the
              damage as noted in DCS’s report.

           c. The roof, windows and standing seam metal siding was damaged from the
              date of loss to the point that full replacement of these materials is
              necessary.

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     14. On or about May 30, 2017, Engle Martin & Associates drafted an estimate for

        their observed damages at the Property with a replacement cost value of

        $113,490.56.

     15. On or about June 1, 2017, DCS drafted its estimate for repairs related to the date

        of loss with a replacement cost value of $659,782.14.

     16. On or about June 7, 2017, Ms. Prom sent Defendant her second report of

        damages that concluded the metal-panel mansards were not ‘functionally hail-

        damaged’ but did exhibit damage consistent with hail impacts from the date of

        loss on the south-facing elevations.

     17. Upon information and belief, Ms. Prom’s conclusion that damage is not functional

        in nature misstates Plaintiff’s Policy coverage as Plaintiff’s Policy with Defendant

        includes no cosmetic damage rider.

     18. Ms. Prom also concluded in her report that the metal-framed windows exhibited

        roughly circular indentations in the glazing bead consistent with hail damage from

        the date of loss but only on the southern elevation of the Property.

     19. On or about July 10, 2017, Defendant sent Plaintiff its claims payment in the

        amount of $17,955.94 (EMA’s RCV amount of $113,490.56 minus recoverable

        depreciation of $51,247.16 minus Plaintiff’s deductible amount of $44,287.46).

        Upon information and belief, Defendant unreasonably delayed payment of this

        claims payment as it made its claims determination of damages on May 30, 2017

        and there is no reasonable basis for delaying payment of covered benefits for

        over 40 days.




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     20. On or about July 12, 2017, however, Defendant requested that Ms. Prom

        reevaluate her previous causation analysis for damage on the metal-panels.

        Upon information and belief, Defendant’s request to reevaluate this decision is

        without a reasonable basis and merely an attempt to reduce Defendant’s

        financial exposure on the claim.

     21. On or about July 17, 2017, Ms. Prom sent Defendant her second supplemental

        report of findings changing the date of damage on the metal panel mansards to

        June 6, 2012.

     22. On or about July 20, 2017, Defendant’s adjuster Fran Leone sent Plaintiff

        Defendant’s coverage decision letter outlining its investigation of claim and

        specifically that Defendant observed no damage to the roof from the date of loss

        and that the interior water damage is the result of long term deterioration or

        improper installation. However, Defendant did agree there was covered damage

        to the southern facing elevations of the windows and the mansard sidings from

        the date of loss. As such, Defendant determined that its claims payment owed

        was $17,955.94.

     23. Mr. Leone also outlined in this letter that window and siding damage on the other

        elevations of the Property were caused prior to the Policy inception date of March

        1, 2015.

     24. On or about October 11, 2017, Defendant asked Ms. Prom to reinspect the

        Property’s roofs with Plaintiff’s public adjuster Matthew Stalcup and Plaintiff’s

        construction consultant Justen Newton. Upon information and belief, Russell

        Clark also attended the inspection.



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     25. Upon information and belief, however, the inspection occurred on May 7, 2018.

        During this inspection, Ms. Prom and Mr. Newton conducted their own core

        sample inspections. Upon information and belief, during the inspection the

        following also occurred:

           a. Ms. Prom explained to Mr. Newton that she was changing her opinion
              regarding the direction of the hail damage from the south direction to the
              southwest direction. Therefore, two elevations of the Property were
              affected by hail damage from the date of loss.

           b. Mr. Prom explained that her report made no sense and was unique among
              the hundreds of roofs she has inspected in the past. However, Ms. Prom
              stood by her report based on her failure to observe splatter marks on other
              elevations.

           c. Mr. Clark observed the hail damaged HVAC units with damage on the
              south and southwest sides and agreed he would include that damage in
              his new estimate. However, Mr. Clark did not inspect all the HVAC units
              for damage.

           d. Regarding HVAC unit damage, Ms. Prom stated to Mr. Newton that she
              included all HVAC unit damage in her original inspection. However,
              Defendant has yet to provide coverage for HVAC damage.

     26. Upon information and belief, Ms. Prom unreasonably investigated Plaintiff’s claim

        for benefits and Defendant should have estimated covered damages based upon

        at least two affected elevations on each building at Plaintiff’s Property. The

        amount of this unreasonable delayed and denied benefit is in DCS’ estimate.

     27. On or about May 11, 2018, Defendant’s engineer Amber Prom with Envista

        Forensics drafted her third supplemental report of findings. In this report, Ms.

        Prom concluded again that the EPDM roofing did not exhibit hail damage but

        instead isolated tears in the membrane were caused by long-term tensile

        stresses in the EPDM membrane from the prior gravel ballast bed previously

        installed on the roof.

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     28. Upon information and belief, however, Ms. Prom’s evaluation of the damage of

        the EPDM roofing system fails to properly differentiate hail damage from gravel

        stress points resulting in tears. Plaintiff’s EPDM roof covering, for instance, is an

        EPDM covering on top a previously installed gravel bed. During installation of the

        current system, the installers removed the previous gravel bed but did not

        completely remove all traces of gravel. The result is that at certain points on the

        roofing system, there exists stressed EPDM membrane points. During hailstorms

        like the one at issue in this case, when hail hits a stress points, the result is

        called an “anvil strike.” These strikes are commonly identified as hail damage

        and not excluded from coverage by insurers.

     29. Upon information and belief, Ms. Prom improperly concluded in her third re-

        inspection of the Property that circular cuts in the membrane just beneath

        trapped gravel was definitively not evidence of hail damage. Ms. Prom based this

        mistaken conclusion on a HAAG Commercial Roofs Course Workbook instead of

        on an independent source or her own experience with this type of damage. There

        is no indication that Ms. Prom verified that the HAAG coursebook was accurate

        or peer reviewed.

     30. Upon information and belief, assuming the EPDM roof is damaged, Defendant

        would owe for full roof replacement as estimated by DCS.

     31. On or about May 18, 2018, Defendant’s adjuster Fran Leone sent Mr. Thompson

        a letter regarding its May 7, 2018 reinspection and denying Plaintiff’s claim again

        as Defendant found no additional damage to the roof.




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     32. Although Defendant had the necessary documentation during the claim process

        to identify the proper scope of repairs and price for Plaintiff’s claim, Defendant

        unreasonably delayed and denied covered benefits by conducting a cursory and

        biased investigation of Plaintiff’s claim.

     33. As a consequence of Defendant’s conduct in unreasonably delaying and denying

        Plaintiff’s claims for benefits due and owing under the Policy, Plaintiff has

        incurred and continues to incur damages.

                             V.     FIRST CLAIM FOR RELIEF
                                     (Breach of Contract)

     34. Plaintiff incorporates the allegations contained in the paragraphs above as if fully

        set forth herein.

     35. The Policy creates a contract of insurance.

     36. By its actions, as described above, Defendant breached the contract of insurance

        by failing to consider all relevant information submitted by Plaintiff on the claim

        and failing to pay covered benefits under the Policy.

     37. As a direct and proximate result of said breach, the Plaintiff is entitled to

        damages in an amount to be determined at trial.

                            VI.   SECOND CLAIM FOR RELIEF
            (Violation of C.R.S. §10-3-1115 and Relief Pursuant to §10-3-1116)

     38. Plaintiff incorporates the allegations contained in the paragraphs above as if fully

        set forth herein.

     39. C.R.S. §10-3-1115 forbids an insurer from unreasonably delaying or denying

        payment of a claim for benefits owed to or on behalf of a first-party claimant.

     40. Plaintiff is a first-party claimant under C.R.S. §10-3-1115.



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     41. Defendant has denied the Plaintiff’s claim without a reasonable basis within the

         meaning of C.R.S. §10-3-1115.

     42. C.R.S. §10-3-1116 provides that a first-party claimant whose claim has been

         unreasonably delayed by an insurer may bring an action in Colorado district court

         to recover reasonable attorneys’ fees and court costs and two times the covered

         benefit.

     43. Because of Defendant’s actions, as described above, violate C.R.S. §10-3-

         1115, Plaintiff brings this claim to recover its reasonable attorneys’ fees and court

         costs and two times the covered benefit, as allowed under C.R.S. §10-3-1116.

                                   PRAYER FOR RELIEF

         WHEREFORE, Plaintiff asks that this Court enter judgment in its favor and

   against Defendant on its Claims for Relief as follows:

         1.     All unpaid covered benefits owed under the Policy;

         2.     Two times the amount of all covered benefits under the Policy;

         3.     Costs, expert witness fees, and attorneys' fees per statute incurred in

                prosecuting its claims;

         4.     Pre- and post-judgment interest; and

         5.     For such other and further relief as this Court may deem just.

               PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL CLAIMS

         Respectfully submitted this 19th day of July 2018.

                                            FURTADO LAW PC

                                            /s/ Nathanael Archuleta
                                            David Furtado, Esq.
                                            Nathanael Archuleta, Esq.
                                            Katherine Goodrich, Esq.

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